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                                                                                                     6
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

ZELMA M. LOEB-DEFEVER and                           §
LOEB ARCHITECTS LLC,                                §
                                                    §
        Plaintiffs,                                 §
                                                    §
v.                                                  § Civil Action No. 4:19-cv-00578-ALM
                                                    §
STRATEGIC CONSTRUCTION, LTD.                        §
d//b/a FCI MULTI-FAMILY; ET AL.                     §
                                                    §
        Defendants.                                 §

                           DECLARATION OF ROBERT PARTIN

        BEFORE ME, the undersigned notary public, on this date personally appeared Robert

Partin who, being duly sworn, deposed and said:

     1. I am over the age of 18 years old and have never been convicted of a felony or crime

involving moral turpitude. I am a partner of Strategic Construction, Ltd. d/b/a FCI Multi-Family

("Strategic Construction"), managing member of FCI Multi-Family GP, LLC ("FCI GP"), and

member of FCI Multi-Family Holdings, LLC ("FCI Holdings"). As such, I am familiar with the

project subject of this lawsuit including, but not limited to, Strategic Construction's, FCI GP's,

FCI Holdings' and my personal involvement in the Woodhaven Village project located at 2275

Riverway Drive, Conroe, Texas 77304 (the "Project").

     2. I am submitting this Declaration in support of Defendants' Motion to Dismiss for Improper

Venue or, in the Alternative, Motion to Transfer, and the statements contained therein related to

the Construction Defendants, as defined below, are within my personal knowledge and are true

and correct.




DECLARATION OF ROBERT PARTIN                                                               Page 1
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    3.   The "Construction Defendants" refers to (1) me; (2) Strategic Construction; (3) Partin

Investments, LLC ("Partin Investments"); (4) W&P I Holdings, Inc. ("W&P"); (5) Sovereign

Builders Group, Ltd. d/b/a FCI Multi-Family Builders ("Sovereign"); (6) Applied Architectural

Products, Inc. ("Applied Architectural"); (7) Timothy G. Dixon; (8) FCI GP; and (9) FCI Holdings.

    4. I obtained the map of the counties encompassed within the Eastern District of Texas

attached hereto as Exhibit A from the Court's website, http://www.txed.usc.ourts.gov/court-

locator. Based on this map, I do not reside nor have I ever resided in the Eastern District of Texas.

   5. I reside at 14 Inverness Park Circle, Houston, Texas 77055 and work in Houston, Texas. I

have resided at 14 Inverness Park Circle, Houston, Texas 77055 for the past twenty-one (21) years,

and in the Houston, Texas area for over forty-eight (48) years. My residence at 14 Inverness Park

Circle, Houston, Texas 77055 is my primary residence.          Although I own property on Lake

Livingston in Polk County, Texas, it is not, and has never been, my primary residence. Traveling

to the Eastern District of Texas for trial in this matter would impose a tremendous burden on me

and my family.

   6. Plaintiffs' Complaint contains no factual allegations about me other than that I am the sole

owner and registered agent of Strategic Construction, registered agent ofW&P, managing member

and registered agent ofFCI GP, and initial manager, current member, and registered agent ofFCI

Holdings. However, I am not the sole owner of Strategic Construction; I am a partner.

   7. Strategic Construction has its principal office located at 9821 Katy Freeway Houston,

Texas 77024. Strategic Construction's registered agent is Matt Beshara, who is located at 9821

Katy Freeway, Suite 675, Houston, Texas 77024. Strategic Construction has held its principal

office in Houston, Texas since its inception and for more than eight (8) years.            Strategic

Construction has never held a principal office outside of Houston, Texas, or in the Eastern District



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of Texas. Strategic Construction does not own or lease any property in the Eastern District of

Texas or maintain a bank account in any bank located in the Eastern District. At all times, Strategic

Construction has maintained its principal office in Houston, Texas.



    8. Strategic Construction previously maintained a secondary office in Collin County Texas

located at 801 E. Plano Parkway, Suite 100, Plano, Texas 75074. The 801 E. Plano Parkway office

was a secondary, rather than primary, office location. Effective August 28, 2019, Strategic

Construction relocated its secondary office to Dallas County.

    9. Strategic Construction's secondary office in Dallas County is located at 2221 Lakeside

Boulevard, Suite 1025, Richardson, Texas 75082. Strategic Construction's Richardson, Texas

office is a secondary, rather than primary, office location.

    10. Strategic Construction employs forty-four (44) employees. Of these employees, only seven

(7) office in its Dallas County Richardson, Texas office. Strategic Construction no longer has

employees who office in Collin County.

    11. Strategic Construction's total gross revenue realized from construction projects from its

inception through June 2019 is $515 million. Ofthis $515 million, $45.7 million is attributed to

projects in the Eastern District, which is less than 9% of Strategic Construction's overall gross

revenue.

    12. Partin Investments has its principal office in this state located at 9831 Whithom Drive,

Houston, Texas 77095. Partin Investments' registered agent is Jeffery Mark Partin, 9831 Whithom

Drive, Houston, Texas 77095. Partin Investments has held its principal office in Houston, Texas

since its inception and for more than eight (8) years. Partin Investments has never held a principal

office outside of Houston, Texas, or in the Eastern District ofTexas. Partin Investments does not



DECLARATION OF ROBERT PARTIN                                                                  Page3
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own or lease real property in the Eastern District, or maintain a bank account in any bank located

within the Eastern District.

    13. Plaintiffs' Complaint alleges that Partin Investments is a general partner of Strategic

Construction.    Partin Investments was an initial general partner of Strategic Construction.

However, in 2002, Strategic Construction's Certificate of Limited Partnership was amended to

include W &P as the sole general partner of Strategic Construction.         Since 2002, W&P has

remained the sole general partner of Strategic Construction.

    14. W &P has its principal office in this state located at 9821 Katy Freeway, Suite 675, Houston,

Texas 77024. W&P's registered agent is Matt Beshara, 9821 Katy Freeway, Suite 675, Houston,

Texas 77024. W&P has held its principal office in Houston, Texas since its inception and for more

than twenty (20) years. W &P has never held a principal office outside of Houston, Texas, or in

the Eastern District of Texas. W &P is the sole general partner of Strategic Construction. W &P

does not own or lease real property in the Eastern District, or maintain a bank account in any bank

located within the Eastern District.

    15. FCI GP has its principal office in this state located at 9821 Katy Freeway, Suite 675,

Houston, Texas 77024. FCI GP's registered agent is Robert Partin, 9821 Katy Freeway, Suite 475,

Houston, Texas 77024. FCI GP has held its principal office in Houston, Texas since its inception

and for more than six (6) years. FCI GP has never held a principal office outside of Houston,

Texas, or in the Eastern District ofTexas. I am the managing member and registered agent ofFCI

GP. Plaintiffs' Complaint contains no factual allegations concerning FCI GP other than that I am

the managing member ofFCI GP, and that according to Strategic Construction's website, in 2013

"FCI Multi-Family was established as a D/B/A of Strategic Construction, an entity wholly owned




DECLARATION OF ROBERT PARTIN                                                                  Page4
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and controlled by Robert Partin." FCI GP does not own or lease real property in the Eastern

District, or maintain a bank account in any bank located within the Eastern District.

    16. FCI Holdings has its principal office in this state located at 9821 Katy Freeway, Suite 675,

Houston, Texas 77024. FCI Holdings' registered agent is Robert Partin, 9821 Katy Freeway, Suite

475, Houston, Texas 77024. FCI Holdings has held its principal office in Houston, Texas since

its inception and for more than seven (7) years. FCI Holdings has never held a principal office

outside of Houston, Texas, or in the Eastern District of Texas. I was the initial manager and am a

member of FCI Holdings. FCI Holdings is also a member of defendant Texas Senior Living

Operator, LLC. Plaintiffs' Complaint contains no factual allegations concerning FCI Holdings

other than that FCI Holdings owns an interest in FCI GP, that it is a member of defendant Texas

Senior Living Operator, LLC, that I was the initial manager and a member of FCI Holdings, and

that defendant Timothy G. Dixon is a member of FCI Holdings. Plaintiffs' Complaint further

notes that according to Strategic Constructions' website, in 2013 "FCI Multi-Family was

established as a D/B/A of Strategic Construction, an entity wholly owned and controlled by Robert

Partin." FCI Holdings does not own or lease real property in the Eastern District, or maintain a

bank account in any bank located within the Eastern District.

    17. In sum, I do not reside in the Eastern District of Texas, and Strategic Construction, Partin

Investments, W&P, FCI GP, and FCI Holdings do not reside in the Eastern District of Texas as

none of these entities maintain their principal place of business in the Eastern District of Texas.

Strategic Construction previously maintained a secondary office in Plano, Texas, which has now

been relocated to Richardson, Texas (within Dallas County)

   18. None of the activity related to the construction of the Project took place in the Eastern

District of Texas, and Plaintiffs' Complaint does not allege that any of the underlying acts or



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omissions occurred in the Eastern District of Texas. Further, I am not aware of any person who

resides in the Eastern District of Texas who has any knowledge regarding the allegations made in

Plaintiffs' Complaint.

    19. Documentation and files related to the Project are located in Strategic Construction's,

Partin Investments', W&P's, FCI GP's, and FCI Holdings' respective offices in Houston, Texas.

All witnesses associated with these entities are located in the Houston area.

         AFFIANT SAYS NOTHING FUTHER.
                                             ----
                                                    I
                                                    Robert Partin


      SUBSCRIBED and SWORN to before me, the undersigned authority, on this }ith day of
September, 2019.



    ,$'-~:!f:t:_t~ MICHELLE SOUOUETTE
    ~f{~·{~~ Notary Public, State of Texas
    ~:!r,4~~~ Comm. Expires 05-02-2023
                                                    N~~£FOR
                                                    STATE OF TEXAS
                                                                                Tim

     "''''lrr'''''"   Notary ID 130009266




DECLARATION OF ROBERT PARTIN                                                             Page6
